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5
     Attorneys for Defendant HEALTH-ADE LLC
6
7                                  UNITED STATES DISTRICT COURT
8                               NORTHERN DISTRICT OF CALIFORNIA
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10   LYNETTE GONZALEZ, MICHAELA                   CASE NO. 5:18-cv-01836-MMC
     FURDZOVA, LUCAS MARISCAL,
11   STEPHANIE PORTER, SEATON COLLARD,            STIPULATION REGARDING EXTENSION
     JAMES COFFIN, LAWRENCE EBEL,                 OF TIME TO RESPOND TO AMENDED
12   PATRICK ROJAS, SYMONE SSWEAZIE,              COMPLAINT (L.R. 6-1(a))
     SARAH COWART, KYMBERLY LOVETT,
13   KIM MILLER, DAN SCALF, DAVID
     ULERY, RICKY WRIGHT, MICHAEL                 Action Filed: March 23, 2018
14   MILLER, CLAUDE VOGEL, ARLETA                 Old Response Date: June 22, 2018
     KORDYLEWSKA, BROOKE TOLAN,                   New Response Date: July 3, 2018
15   KEISHA WALTON, MICHELLE
     GROCHOWSKI, RAQUEL PEREZ, and
16   SANDRA NICLAS, individually and on behalf
     of all others similarly situated,
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                         Plaintiffs,
18
     v.
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     HEALTH-ADE LLC, a Delaware limited
20   liability company,
21                       Defendant.
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                                                  1                     CASE NO. 5:18-cv-01836-MMC
                                              STIPULATION RE EXTENSION OF TIME TO RESPOND TO FAC
     LA 133709410v1
1            Pursuant to Local Rule 6-1(a), Defendant Health-Ade LLC (“Health-Ade”) and Plaintiffs Lynette

2    Gonzalez, Michaela Furdzova, Lucas Mariscal, Stephanie Porter, Seaton Collard, James Coffin,

3    Lawrence Ebel, Patrick Rojas, Symone Sweazie, Sarah Cowart, Kymberly Lovette, Kim Miller, Dan

4    Scalf, David Ulery, Ricky Wright, Michael Miller, Claude Vogel, Arleta Kordylewska, Brooke Tolan,

5    Keisha Walton, Michael Grochowski, Raquel Perez and Sandra Niclas (“Plaintiffs”; and together with

6    Defendant, the “Parties”) hereby stipulate and agree that Defendant may have an extension of time, until

7    and including July 3, 2018, to respond to Plaintiffs’ First Amended Complaint. The Parties make the

8    following recitals in support of this stipulation.

9            WHEREAS, Plaintiffs filed the Complaint in this action on March 23, 2018;

10           WHEREAS, Health-Ade was served with the Complaint on March 26, 2018;

11           WHEREAS, Health-Ade filed a Motion to Dismiss on May 18, 2018;

12           WHEREAS, Plaintiffs filed a First Amended Complaint on June 1, 2018, per Federal Rule of

13   Civil Procedure 15(a)(1), rendering Health-Ade’s Motion to Dismiss the original Complaint moot (ECF

14   21);

15           WHEREAS, Plaintiffs granted Health-Ade an extension to respond to the First Amended

16   Complaint up to and including June 22, 2018;

17           WHEREAS, Health-Ade has requested an additional, short extension of time to prepare a

18   response to the First Amended Complaint, and Plaintiffs agree that Health-Ade may have an extension of

19   time, until and including July 3, 2018, to respond.

20           WHEREFORE: the parties agree Health-Ade may have an extension of time, until and including

21   July 3, 2018, to respond to Plaintiffs’ First Amended Complaint.

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                                                                                CASE NO. 5:18-cv-01836-MMC
                                                      STIPULATION RE EXTENSION OF TIME TO RESPOND TO FAC

     LA 133709410v1
1    DATED: June 22, 2018                         GREENBERG TRAURIG, LLP

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3                                             By: /s/ Robert J. Herrington
                                                 Robert J. Herrington
4                                                Attorneys for Defendant
                                                 HEALTH-ADE LLC
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6
     DATED: June 22, 2018                         BRADLEY GROMBACHER, LLP
7
8
                                              By: /s/ Kiley L. Grombacher
9                                                Marcus J. Bradley
                                                 Kiley L. Grombacher
10                                               Taylor L. Emerson
                                                 Attorneys for Plaintiffs
11                                               LYNETTE GONZALEZ, et al.
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13
14                                            ATTESTATION OF FILER

15
16           I, Robert J. Herrington, am the ECF user whose identification and password are being used to file

17   this STIPULATION. Pursuant to Civil Local Rule 5-1(i)(3), I hereby attest that all other signatories to

18   this document concurred in its filing.

19
                                                            Robert J. Herrington
20                                                          Robert J. Herrington
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                                                                              CASE NO. 5:18-cv-01836-MMC
                                                    STIPULATION RE EXTENSION OF TIME TO RESPOND TO FAC

     LA 133709410v1
